

Hicks v City of Syracuse (2024 NY Slip Op 05831)





Hicks v City of Syracuse


2024 NY Slip Op 05831


Decided on November 21, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 21, 2024

Before: Webber, J.P., Singh, Gesmer, Pitt-Burke, Michael, JJ. 


Index No. 151405/23 Appeal No. 3094 Case No. 2023-04866 

[*1]Kenneth Hicks, Plaintiff-Respondent,
vCity of Syracuse, et al., Defendants-Appellants.


Corporation Counsel, City of Syracuse, Syracuse (Darienn P. Balin of counsel), for appellants.
Smith Parry, P.L.L.C., Jordan (Jarrod W. Smith of counsel), for respondent.



Order, Supreme Court, New York County (Lisa S. Headley, J.), entered on or about August 25, 2023, which denied defendants' motion to change venue from New York County to Onondaga County, unanimously affirmed, without costs.
The court providently denied defendants' motion to change venue based upon plaintiff's showing of compelling circumstances sufficient to override the mandate of CPLR 504(see CPLR 510[3]; Smith v City of New York, 60 AD3d 540, 541 [1st Dept 2009]; Chitayat v Princeton Restoration Corp., 289 AD2d 102 [1st Dept 2001]). Plaintiff provided evidence that travel to Onondaga County would be a hardship for him and his witness, his treating psychiatrist, based on his limited financial means and the
adverse effect it would have on his mental health.
We have considered defendants' remaining arguments and find them unavailing. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 21, 2024








